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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

CLIFFORD PAPER INC.,                             CASE NO. 17-22396-CIV-ALTONAGA/GOODMAN

      Plaintiff

      v.

COLONIAL PRESS INTERNATIONAL INC.
    Defendant.


                      JOINT MOTION FOR DISMISSAL WITH PREJUDICE

             Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Clifford Paper Inc.

   (“Clifford Paper”) and Defendant Colonial Press International Inc. (“Colonial Press”) jointly

   move to dismiss this action with prejudice and state as follows:


             1.    Clifford Paper and Colonial Press executed a written settlement agreement (the

   “Settlement Agreement”) on March 28, 2018. The Settlement Agreement is intended to end all

   aspects of the litigation between and between Clifford Paper and Colonial Press.

             2.    Pursuant to Anago Franchising, Inc. v. Shaz, LLC, 677 F. 3d 1272 (11th Cir.

   2012), Clifford Paper and Colonial Press jointly seek entry of an Order of this Court dismissing

   this case with prejudice but retaining jurisdiction to enforce the terms of the Settlement

   Agreement for one year from the date of the Order.

             4.    A proposed Order Closing Case which includes retention of jurisdiction is being

   submitted with this Joint Motion for the Court’s consideration.




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                                                 CASE NO. 17‐22396‐CIV‐ALTONAGA/GOODMAN


  Respectfully submitted,

  GENOVESE JOBLOVE & BATTISTA, P.A.                  DUANE MORRIS LLP

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      Counsel for Plaintiff                             Suite 3400
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                                                        (305) 960-2242 (telephone)

                                                       Counsel for Defendant



                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 28th day of March 2018, I electronically filed the

  foregoing with the Clerk of Court using CM/ECF, which was served via transmission of Notices

  of Electronic Filing generated by CM/ECF to all attorneys of record.



                                        By:    /s/ Lida Rodriguez-Taseff




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

CLIFFORD PAPER INC.,                             CASE NO. 17-22396-CIV-ALTONAGA/GOODMAN

         Plaintiff

         v.

COLONIAL PRESS INTERNATIONAL INC.
    Defendant.


                   ORDER CLOSING CASE UPON JOINT MOTION FOR DISMISSAL

          THIS MATTER came before the Court on the parties’ Joint Motion for Dismissal With
   Prejudice [D.E. __], in which the parties have requested an order dismissing the case with
   prejudice in accordance with the parties’ settlement, but retaining jurisdiction for up to one year
   to enforce the terms of the parties’ Settlement Agreement. Accordingly, it is ORDERED AND
   ADJUDGED that this action is DISMISSED WITH PREJUDICE. All pending motions are
   denied as moot and all hearings are canceled. The clerk is directed to CLOSE this case.

          It is further ORDERED that pursuant to Anago Franchising, Inc. v. Shaz, LLC, 677 F. 3d
   1272 (11th Cir. 2012), the Court shall retain jurisdiction to enforce the terms of the parties’
   Settlement Agreement for a reasonable period, not to exceed one year (1) from the date of this
   Order in order to permit the parties to fulfill the requirements of their Settlement Agreement.
   The parties shall inform the Court within one (1) week of the fulfillment of the terms of the
   Settlement Agreement.

              DONE and ORDERED in chambers in Miami, Florida, this this _____ day of March
   2018.



                                                       _____________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE


   cc.        Lida Rodriguez-Taseff, Esq.
              Charles C. Papy, III, Esq.
              Michael Friedman, Esq.
              W. Barry Blum, Esq.



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